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                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF KENTUCKY


 IN RE: DONALD ANTHONY FITZPATRICK                                CASE NO.: 24-50512-grs
        and ASHLEY LOUISE FITZPATRICK,
                                                                  CHAPTER 11
         Debtors.




         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS



       PLEASE TAKE NOTICE that Attorney Robert A. McMahon of the law firm of Eberly

McMahon Copetas LLC hereby enters his appearance in this action on behalf of Creditor

Wiseway, LLC pursuant to Rules 2002, 9007, and 9010 of the Federal Rules of Bankruptcy, and

Section 102(1) of the Bankruptcy Code, and any other applicable Code sections and Rules, and

hereby respectfully requests that copies of all notices and pleadings given and/or filed in this

matter be duly served upon Counsel at the address and contact information set forth below, and

that said service information be added to the schedules on file with the Clerk:

                               Robert A. McMahon
                               Eberly McMahon Copetas LLC
                               2245 Gilbert Ave. Suite 101
                               Cincinnati, OH 45206
                               (513) 533-3441
                               (513) 533-3554 Fax
                               bmcmahon@emclawyers.com

         Please take further notice that the foregoing request includes not only the notices and

 papers referred to in the Rules set forth above, but also includes, without limitation, service of any

 and all notices, orders, hearing dates, applications, motions, responses, replies, petitions, requests,
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complaints, answers, demands, schedules of assets and liabilities, statements of affairs, operating

reports, plans and disclosure statements, whether formal or informal, written or oral, and whether

transmitted by mail, hand delivery, courier, facsimile, e-mail, or otherwise.




 DATED:         May 9, 2024                 Respectfully submitted,


                                            /s/ Robert A. McMahon
                                            Robert A. McMahon (0064319)
                                            Eberly McMahon Copetas LLC
                                            2245 Gilbert Ave. Suite 101
                                            Cincinnati, OH 45206
                                            (513) 533-3441
                                            (513) 533-3554 Fax
                                             bmcmahon@emclawyers.com
                                            Counsel for Creditor Wiseway, LLC




                                 CERTIFICATE OF SERVICE

       I certify that on May 9, 2024 a copy of the foregoing Notice of Appearance and Request

for Service of Papers was filed electronically via the Court’s Electronic Case Filing System and

was served on or about the aforementioned date upon all persons registered by operation of the

Court’s Electronic Case Filing System.


                                            /s/ Robert A. McMahon




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